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SHARON       KELLER
                                                               COURT OF CRIMINAL APPEALS                                                                   TROY   C.    SENNETT.          JR.

 PRESIDING   JUDGE                                                                STATE OF TEXAS                                                                        CLERK
                                                                                                                                                                  612 463-1661

LAWRENCE          E.   MEYERS                                         P.O.   BOX 12308 CAPITOL STATION                                                     RICHARD                  WETZEL
TOM   PRICE                                                                                                                                                               E.

                                                                               AUSTIN TEXAS 78711                                                             GENERAL      COUNSEL
SUE HOLLAND                                                                                                                                                       512   463-        600
PAUL WOMACK
                                                                                                                                                                                1




CHERYL JOHNSON
MIKE KEASLER
BARBARA P. HERVEY
CHARLES      R.    HOLCOMB
 JUDGES




                                                                             JANUARY 3 2001




          FLOYD W. FREED                           III                                                           JOHN B. HOLMES               JR.

          ATTORNEY AT LAW                                                                                        DISTRICT        ATTORNEY
          6630 CYPRESSWOOD DR.                                  SUITE 200                                        1201    FRANKLIN          SUITE 600
          SPRING TEXAS                      77379                                                                HOUSTON TEXAS 77002


          No. 73708

          Trial Court No.                   800112



          STYLED                    CHARLES                MAMOU JR. V. THE STATE OF TEXAS

          Dear Counselors



          The          above    case   is   set   for submission to the Court on                                  WEDNESDAY              JANUARY 31 2001 at
          900 A.M.


          All parties shall notify the Clerk of this Court in writing                                                   within   10 days after the date of this

          notice whether or not oral argument                                is   desired.            If oral argument             is   desired     aparty must
          include         in this   notice        which      points    of error will be


          argued-Requesting
                        NOT                          FAILURE TO SEND THE
                                arguments on briefs or pleadings                           is                    sufficient.


          PROPER WRITTEN REQUEST WITHIN THE TIME PERIOD SET OUT ABOVE
          WILL CONSTITUTE A WAIVER OF ORAL ARGUMENT.  You will not be further
          contacted            regarding     this        matter.




                                    SUPREME       COURT      EIVILDING   201      WEST         14TH    STREET        ROOM 106 AUSTIN      TEXAS   78701

                                                                   WEBSITE        WWW.CCA.COURTS.STATE.TX.US
-2-Twenty
           minutes will be permitted for each party properly requesting oral                                 Oral
                                                                             argument.
                 not the Courts                                            memorandums
argument                                    exposure to a case as bench                              forth the
            is                      first
                                                                                           setting

points   of error the   authorities    relied
                                                upon the facts   etc.   are prepared for each argued case    and
distributed to every judge.         Prepare your argument with this in mind.         The Court appreciates
brevity.




Sincerely



TROY C. BENNETT               JR.

Clerk




By
     Chief Deputy Clerk




cc       Judge    Presiding

         District   Clerk

         Roland Brice       Moore III
